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                                                                          5                     IN THE UNITED STATES DISTRICT COURT
                                                                          6                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                          7
                                                                              IN RE: CATHODE RAY TUBE (CRT)           )   MDL No. 1917
                                                                          8   ANTITRUST LITIGATION                    )
                                                                                                                      )   Case No. C-07-5944-SC
                                                                          9                                           )
                                                                                                                      )   PROPOSED ORDER RE:
                                                                         10   This Order Relates To:                  )   APPOINTMENT OF A SPECIAL
                               For the Northern District of California
United States District Court




                                                                                                                      )   MASTER
                                                                         11                                           )
                                                                              ALL ACTIONS                             )
                                                                         12                                           )
                                                                         13
                                                                         14        On September 11, 2015, the Court held a hearing on the
                                                                         15   appointment of Mr. Martin Quinn as a Special Master.          During that
                                                                         16   hearing, the Court told at least one party that it would provide a
                                                                         17   copy of its Order for review and objections.         Accordingly, the
                                                                         18   Court's proposed Order is attached hereto.        Parties may review or
                                                                         19   request changes within 7 days of the date of this order.           If
                                                                         20   changes are requested, specify the change desired by page and line.
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                                                                         22        IT IS SO ORDERED.
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                                                                         24        Dated: September 11, 2015
                                                                         25                                        UNITED STATES DISTRICT JUDGE
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